                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

METROPOLITAN NASHVILLE                        )
AIRPORT AUTHORITY,                            )
                                              )
         Plaintiff,                           )
                                              )      Case No.: 3:20-CV-00809
v.                                            )
                                              )      Judge William L. Campbell, Jr.
COLONIAL PIPELINE COMPANY,                    )      Magistrate Judge Alistair E. Newbern
                                              )      JURY DEMAND
         Defendants.                          )


                               FIRST AMENDED COMPLAINT


         This is an action by Plaintiff Metropolitan Nashville Airport Authority (the “Airport” or

“Plaintiff”) for declaratory judgment, breach of contract, and specific enforcement of an

easement agreement (the “Easement”) that requires Defendant Colonial Pipeline Company

(“Colonial” or “Defendant”) to relocate its liquid petroleum products pipeline to make way for

the Airport’s continuing renovation and expansion program, “BNA Vision”. Plaintiff also seeks

compensatory and punitive damages and an award of attorneys’ fees as a result of Colonial’s

intentional, reckless and vexatious breach of the Easement and its vexatious conduct during the

course of this litigation.

         Traffic congestion at the Airport is already noticeable at peak times.          Without

improvements that require relocation of Colonial’s easements/pipelines, the result will be

significant back-ups by 2023 and gridlock by 2028. In order to meet construction schedules and

avoid undue delay, the Airport informed Colonial that the pipelines must be moved by mid-2021.

Although Colonial acknowledged its obligation in 2018, it has refused to honor its agreement to

move the pipeline on schedule and is engaged in a hold up of the relocation in an attempt to



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extract unwarranted concessions from both the Tennessee Department of Transportation

(“TDOT”) and the Airport.         Colonial’s breach of the Easement has caused material and

irreparable project delays. By this action, the Airport, for itself and in the public interest, seeks a

speedy award of specific performance mandating Colonial to move its pipelines and easement on

a definitive schedule, compensatory and punitive damages, an award of attorneys’ fees, and such

other and further relief as this Court deems just, proper and equitable.

                           PARTIES, JURISDICTION, AND VENUE

        1.      The Airport is a Tennessee governmental entity with its principal place of

business at One Terminal Drive Suite 501, Nashville, TN 37214. With nearly 18.3 million

passengers in 2019, the Airport has been one of the fastest growing airports in North America.

        2.      Colonial is a privately held Delaware and Virginia corporation authorized to

conduct business in Tennessee, with its principal place of business at 1185 Sanctuary Parkway,

Suite 100, Alpharetta, Georgia 30009. Colonial is an energy company that claims to manage the

largest refined products pipeline in the United States. Pursuant to the Easement, Colonial

transports liquid petroleum products through two pipelines that cross Airport property in

Davidson County.

        3.      This Court has personal jurisdiction over Colonial because it regularly conducts

business in Tennessee and has established sufficient minimum contacts with this state. In

addition, a substantial part of the events or omissions giving rise to the claims in this matter

occurred in Tennessee and this action relates to and arises out of the Easement.

        4.      This Court has subject matter jurisdiction over this action because this action is

between citizens of different states and the amount in controversy exceeds $75,000, excluding

interest and cost.




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       5.      Venue is proper under 28 U.S.C § 1391 because a substantial part of the events,

acts, and omissions giving rise to the claims involved in this matter occurred in this judicial

district. This cause of action seeks a declaration of the rights and obligations of the parties under

the Easement and seeks to specifically enforce the performance of that agreement in Davidson

County, Tennessee.

                                              FACTS

       6.      The Airport and Colonial entered into the Easement on May 14, 1976.            A true

and correct copy of the Easement is attached as Exhibit 1.

       7.      The Easement grants Colonial the right to “construct, operate, maintain, repair,

replace and inspect its liquid petroleum products pipeline” on real property in Davidson County,

Tennessee, owned by the Airport. See Exhibit 1 at Page 3.

       8.      The Easement also provides that “Colonial will relocate its easements, either

those existing on property now owned or hereafter acquired by the Metropolitan Nashville

Airport Authority, at its sole cost and expense upon notification by the Metropolitan Nashville

Airport Authority that its lines interfere with the expansion, development, and/or construction

undertaken or to be undertaken by the Metropolitan Nashville Airport Authority, its successors,

assigns, agents, or employees.” See Exhibit 1 at Page 6.

       9.      Middle Tennessee has seen an explosion of economic and population growth in

recent years. Since at least 2003, the Airport has planned an expansion of its facilities to

accommodate the increase in air traffic and passengers traveling through the region. Such an

expansion necessarily requires realignment of portions of Donelson Pike and improvements to

terminal access roadways in order to address traffic congestion and open up space for the




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Airport’s facilities and roadways (the “Terminal Access Roadway Improvement Project” or

“TARI Project”).

       10.     In furtherance of its expansion plans, the Airport requested that the Tennessee

Department of Transportation (“TDOT”) agree to realign Donelson Pike (the “Highway

Project”). TDOT agreed to undertake the Highway Project, which was designed to tie into the

Airport’s planned terminal access roadway system, as an accommodation to the Airport. TDOT

and the Airport agreed that both the Highway Project and the TARI Project would proceed

concurrently and they agreed to work together to develop a mutually beneficial phasing plan that

maintains adequate access to airport facilities at all times. A true and correct copy of the

Memorandum of Understanding entered into between the Airport and TDOT on November 16,

2018 is attached hereto as Exhibit 2.

       11.     The Airport and TDOT identified that the Highway Project and the TARI Project

conflicted with the existing location of the liquid petroleum products pipelines operated by

Colonial pursuant to the Easement. In 2018, the Airport notified Colonial that its pipelines

interfered with the TARI Project and would have to be moved. Throughout 2018 and 2019

Colonial and the Airport met to address engineering issues related to relocation of Colonial’s

pipeline to accommodate the Airport’s expansion plans.

       12.     On July 5, 2018, Colonial’s Relocation Project Manager Dan Jacobsen met with

Airport project managers to discuss engineering issues tied to the relocation. Mr. Jacobsen

indicated that Colonial preferred one relocation option that would resolve all conflicts with the

TARI Project and the Highway Project. He acknowledged Colonial’s obligation to pay for the

relocation, stating Colonial’s Easement with the Airport was “not advantageous” for Colonial,

because it legally obligated Colonial to move the pipelines at Colonial’s own expense.




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       13.    On September 7, 2018, Airport project managers met again with Mr. Jacobsen

and other members of the Colonial pipeline engineering staff to discuss three (3) proposed

relocation alignments. Mr. Jacobsen represented that Colonial preferred Option 1A, which would

relocate Colonial’s lines to a new alignment parallel to I-40.      A true and correct copy of

Colonial’s preferred Option 1A is attached as Exhibit 3.

       14.    By November 2018, Colonial was on notice that TDOT would only reimburse

Colonial for engineering and construction costs associated with those portions of the Option 1A

relocation plan that fell directly within TDOT’s right of way. Because Colonial knew that the

entire pipeline relocation was not fully reimbursable by TDOT, Mr. Jacobsen informed the

Airport that Colonial’s budget for the relocation would be subject to review and approval of

Colonial’s management. He estimated that the approval process and the engineering and

construction associated with the relocation would require up to 18 months.

       15.    In January 2019, at Colonial’s request, its engineering firm for pipeline relocation

projects, Kleinfelder, Inc. (“Kleinfelder”), reviewed Colonial’s right of way files pertaining to

the Airport to provide an opinion with respect to Colonial’s relocation cost reimbursement rights

against the Airport. Kleinfelder responded to Colonial’s request by email on January 28, 2019:



                                                                              Kleinfelder further

informed Colonial:




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       16.     By February 2019, both Colonial and Kleinfelder had determined that the cost of

relocation would not be reimbursable by the Airport and that among the various options for

relocation on the Airport’s property, Option 1A a/k/a the “Long Route” was selected as the

option to advance to the next stage of review and engineering design.




       17.     In February 2019, Colonial and the Airport discussed the timeline for the

relocation. Colonial was informed that the pipeline relocation should be completed by the end of

2020 so that the TARI project could remain on schedule.

       18.     In April 2019, TDOT was conducting borings on the Airport’s property in

connection with its separate Highway Project to redesign the interchange on Interstate 40 at the

Airport. It utilized the Tennessee 811 One Call System (“call before you dig”) whereby Colonial

was notified and asked to mark its pipelines. Colonial responded affirmatively to TDOT that it

had marked its lines, when in reality it had not done so in the area where TDOT struck

Colonial’s line on April 9, 2019. The line strike is the subject of a separate suit: 3:20-cv-00666.

The line strike did not impact Colonial’s preferred relocation option, the Long Route.

       19.     On May 24, 2019, Airport project managers met again with Mr. Jacobsen, as well

as Colonial District Manager Perry Sisk and Colonial Project Manager Igor Rodrigues, along

with two employees of Colonial’s design consultant Kleinfelder. The group discussed relocation

plans and mitigation of conflicts. Colonial confirmed that relocating the pipeline using Option




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1A, the area along the south side of I-40, was Colonial’s most favorable solution. The timeline

for relocating the pipeline was again discussed. At that time, Colonial represented that its

intention was to have all the relocation/removal work done by mid-2021.

       20.     By August 2019, Colonial’s relocation management team had recommended and

approved spending $450,000 for detailed engineering and design work to advance relocation

along the Long Route: “The team recommends approval of $450,000 to proceed to the Define

Stage, which includes detailed engineering, bidding and project planning for the Execute Stage

for the Selected Option 1 [the Long Route].”

       21.     The Colonial team noted the benefits of the Long Route as follows: “The benefit

of this project is to avoid conflicts caused by the TDOT I-40/Donelson Pike Interchange and

MNAA expansion project. It is understood that there is strong likelihood that MNAA will

continue to expand its facilities in the future. This project will relocate the pipelines in such way

as to minimize the risk of the line strikes to the pipelines during expansion-construction and the

potential for future relocation/accommodation projects due to airport expansions.”

       22.      In approving funds to proceed with the Long Route, Colonial’s management

team also noted in August 2019 that: “Accommodation costs to encroacher’s impacts

(MNAA/DOT) will not be reimbursable.” The Colonial team selecting to go forward with the

Long Route made no mention of the line strike or any impact of the line strike on relocation

options.

       23.     The anticipated schedule for the relocation project called for the “define” stage

(all engineering and design work) to be complete by May 2020 and for the “execute” stage

(constructing the project) to be complete by September 2020.




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        24.     On August 19, 2019, Mr. Jacobsen sent an email to Airport personnel indicating

that: “On August 8th, I presented this relocation project to upper management and received

approval to move into the next stage of engineering.” He asked that the Airport confirm that it

was in agreement with the Option 1A routing of the relocation. The Airport responded that it

was in agreement with Option 1A. Between August and November 2019, Colonial project

managers and the Airport worked together to move the relocation project forward. A true and

correct copy of the September 19, 2019 email from Jim Morinec summarizing the technical

aspects of the relocation agreed upon by the Airport, Colonial, and Kleinfelder is attached hereto

as Exhibit 4.

        25.     During the course of the deposition of Colonial’s former Managing Director of

Commercial Affairs Jim Avioli taken on October 7, 2021, the Airport learned that Colonial’s

Commercial Affairs Group commandeered the project just as it was set to commence. Colonial’s

Commercial Affairs Group did so with the objective of sabotaging any advancement of

engineering, design or construction of the pipeline relocation, so that Colonial could create

leverage against the Airport and TDOT                                                           and

contract concessions.

        26.     In Mr. Avioli’s words, the cost of relocation was “on Colonial’s dime.”

Accordingly, Mr. Avioli set the Commercial Affairs Group in motion in August 2019, knowing

that Colonial did not have reimbursement rights for projects dictated by the Airport.

        27.       Colonial’s Commercial Affairs Group proceeded to consider various options to

secure reimbursement for costs it was not entitled to, including: stopping service altogether to the

Airport and to Nashville; relocating only the gasoline line (leaving the Airport without needed

fuel for the airlines); and                                         .




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       28.      On August 5, 2019, Mr. Avioli sent an email to members of his group stating:




       29.      Colonial has a pattern and practice of trying to create leverage

             where public projects call for Colonial to relocate its pipelines “on its own dime.”




       30.      In furtherance of its plan to shake down the Airport, the Commercial Affairs

Group considered holding up other unrelated agreements with the Airport in order to secure

better relocation rights at the Airport. In an email dated September 13, 2018, Aaron Smith, who

worked for Mr. Avioli in the Commercial Affairs Group wrote:




       31.      By October 30, 2019, Mr. Avioli formed a two person “Steering Team” consisting

of himself and Meg Blackwood, a Colonial in-house attorney. From that point forward, Colonial

effectively shielded all inquiry into the work of the “Steering Team” from discovery under the




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cloak of attorney client privilege. Nonetheless, some of the direction given by the Steering Team

can be seen in Colonial and Kleinfelder emails.

       32.    On October 29, 2019, for example, Mr. Smith wrote:




       33.    By December 2019, Colonial’s Steering Team made the decision to shift gears

and approach TDOT with the argument that TDOT was 100% responsible for the cost of the

relocation project, even for the part Colonial knew was dictated by the Airport’s expansion

project. On December 9, 2019, Mr. Avioli wrote TDOT falsely stating that there was no legal

deadline to submit Colonial’s application for reimbursement for TDOT’s Highway Project

portion and that the project would not progress until an agreement was reached on funding.

       34.    On December 13, 2019, representatives of Colonial’s Project Management Team,

its Commercial Affairs and Legal Departments met with TDOT and took the position that the

Airport’s TARI project was a “direction action” resulting from TDOT’s Highway Project, and

insisted that TDOT was responsible to pay 100% of the pipeline relocation costs (which Colonial

estimated to be approximately $30 Million). Colonial also represented that its Board had not

approved the pipeline relocation; and that Board approval, if ultimately granted, was expected to

take 6-12 months. TDOT denied the pipeline relocation was 100% reimbursable, and again made

it clear that the Highway Project was being done as an accommodation to the TARI Project, not

part of a TDOT initiative to maintain roadway functionality.




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       35.     Having been told by TDOT that an application seeking 100% reimbursement

would be rejected, Colonial nonetheless proceeded to submit an application seeking just that. On

December 19, 2019, just a few days after the TDOT meeting, Colonial submitted its “A-Date”

package to TDOT. The A-Date submittal claimed TDOT was 100% responsible to pay for the

relocation of its pipelines on the Airport’s property. The A-Date submittal also falsely stated to

TDOT that, due to the April 9, 2019 line strike, Colonial’s expenses would be millions of dollars

higher because: “Originally Colonial was favoring the MNNA Option 3 route for relocation….

However, due to TDOTs strike of Colonial’s line 19 in April 2019 that route is no longer

possible.” Colonial’s statement that it had originally favored MNAA Option 3 (or any option

other than the Long Route) was a knowingly false statement. As Colonial surely expected,

TDOT quickly rejected Colonial’s A-Date submission the following month. A true and correct

copy of TDOT’s January 23, 2020 rejection of Colonial’s A-Date Package is attached as Exhibit

5.

       36.     After Colonial’s attempt to shift 100% of its contractual obligation to pay for the

pipeline relocation to TDOT was rejected by TDOT, Colonial’s Commercial Affairs Group, led

by the Steering Team of Jim Avioli and Colonial’s in-house lawyer, cancelled critical meetings

its engineers had scheduled with the Airport and stopped all work. As a result, Mr. Avioli was

specifically warned by Colonial’s Relocation Project Manager that stopping all work would

throw the project further off schedule. In addition to these stop work orders, in February 2020,

Commercial Affairs directed that two new project milestones be inserted into the project

schedule:




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       37.      Although Mr. Jacobsen had indicated in December 2019 that he had planned to

hold meetings with the Airport in the following three to eight (3-8) weeks on right of way,

easement, environmental, permitting, and design considerations, he subsequently informed the

Airport that he was required to obtain authorization from Colonial’s Legal Department to even

schedule such meetings. The meetings were never scheduled. Mr. Jacobsen’s employment with

Colonial was terminated in March 2020.

       38.      In March 2020, in its continuing effort to get the relocation project on track, the

Airport sent formal written notice to Colonial (the “Notice”) that because the current location of

Colonial’s easements interfered with the Airport’s plans for expansion and related construction,

Colonial was obligated to relocate its easements at its sole cost and expense. The Airport

reminded Colonial that time was of the essence. A true and correct copy of the Notice is attached

as Exhibit 6.

       39.      On April 8, 2019, Colonial’s Assistant General Counsel sent a letter in response

to the Airport’s Notice (the “Response”) which failed to substantively respond to the Airport’s

request that Colonial relocate its pipeline. A true and correct copy of the Response is attached as

Exhibit 7. Specifically, the Response states:

       The relocation of Colonial’s pipelines is a complex, multi-million dollar project that
       takes a great deal of coordination and planning, particularly when (as is the case here)
       the relocation is done at the request of a third-party and not because of Colonial’s own
       operational needs . . . It is not cost effective or desirable for Colonial to do separate
       pipeline relocation projects to address the TDOT and MNAA projects. Accordingly,
       Colonial has been in discussions with TDOT and MNAA for some time about Colonial’s
       proposed plan to do a single project, relocating both pipelines in a manner that would
       address all conflicts with the TDOT project and the MNAA project. In fact,



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       representatives from MNAA and Colonial have had several meetings since 2018 (both in
       Alpharetta and Nashville) to discuss various technical aspects of the relocation,
       including the proposed route of the relocation. Colonial trusts that MNAA will continue
       to work with TDOT and us on that effort.

       40.     On or about April 17, 2020, Mr. Avioli used the pandemic as yet another excuse

to stop all work on the Airport project. Colonial’s Relocation Project Manager immediately

responded to Mr. Avioli that this was not necessary:




       41.     Colonial did not submit a revised A-Date Package to TDOT until May 21, 2020.

While the revised A-Date Package no longer insisted that TDOT pay 100% of the engineering

and construction costs, it did continue to advance the false claim that TDOT was responsible to

pay in excess of $12 Million of those costs because Colonial was forced to choose a more

expensive relocation route in order to avoid soil remediation costs resulting from a pipeline spill

that occurred on the Airport’s property in April 2019. This is not true, as the route Colonial

includes in its revised A-Date package is essentially the same as the Option 1A route it chose

before the spill took place.

       42.     TDOT again rejected Colonial’s proposal, this time on the grounds that Colonial

was requesting that TDOT pay for “betterment.” That is, Colonial was asking TDOT to pay for



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upgrades to the design of the pipeline intended to improve the long term maintenance and

longevity of the pipeline. Colonial was again instructed to re-submit a revised A-Date Package

that represented only the engineering and construction costs for those parts of the relocation that

fell directly within TDOT’s right of way. A true and correct copy of TDOT’s July 16, 2020,

rejection of Colonial’s revised A-Date Package is attached as Exhibit 8.

       43.     On June 29, 2020, the Airport requested that Colonial provide: “A clear and

concise statement of Colonial’s position regarding movement of the pipeline, including a current

statement of its plans, anticipated timing and expense and identification of issues or impediments

it believes need to be resolved.” Colonial failed to respond to this request.

       44.     The Airport subsequently arranged an August 13, 2020 meeting of business,

operational, and legal representatives of the Airport, TDOT, and Colonial to identify and discuss

any outstanding issues relating to the pipeline relocation. The day before the meeting was to

begin, and with prior knowledge of TDOT’s participation, Colonial informed the Airport that it

refused to attend the meeting if both TDOT and the Airport were present. The Airport asked

Colonial to reconsider. Colonial responded to this request by saying it would be willing to

attend, but that it disagreed with the Airport’s proposed agenda and would not discuss issues it

deemed unique to the Airport or TDOT in the presence of the other. Colonial has not identified

any issues related to the pipeline relocation that are so unique to the Airport that they may not be

discussed in TDOT’s presence. A true and correct copy of the email chain setting forth the

proposed attendees and agenda for the meeting is attached as Exhibit 9.

       45.     Between April 2020 and April 2021, Colonial’s communications with TDOT

continued to drag on with no agreement reached. In Colonial’s last letter to TDOT, dated April 8,

2021, Colonial gave lip service to the possibility of reaching agreement to a percentage




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reimbursement level from TDOT, but then raised the same litany of objections to moving

forward it had raised in the past, including that no funding or timing agreement had been reached

with the Airport. Colonial’s April 8, 2021 letter concluded that it could not reach an agreement

with TDOT; it could not give TDOT the necessary “days to complete” the project; and, in fact, it

could not move forward at all until “a global resolution” is reached among all parties. A true and

correct copy of Colonial’s April 8, 2021 letter to TDOT is attached as Exhibit 10.

       46.     Through depositions taken of Colonial’s project managers, the former Managing

Director of its Commercial Affairs Group, and its engineering firm, Kleinfelder, it is clear that

Colonial’s stop work orders related to the relocation of its pipelines on the Airport’s property

have never been lifted (and won’t be) because neither the finish/finish funding nor the Legal

Hold Release milestones have been reached. In order to perpetuate its attempt to extort the

Airport, Colonial has intentionally derailed discussions with TDOT; it has not done the

engineering and design work that was approved in August 2019 and scheduled to be complete by

May 2020; and it has knowingly and intentionally caused the project to be materially delayed.

       47.     Colonial’s prevarications and delays have now stretched over two years. Colonial

has intentionally, recklessly and in bad faith breached its obligation under the Easement to

relocate the pipelines and easement at its own expense. If Colonial is not ordered by this Court to

move the pipelines and easement on a definitive schedule, the Airport’s planned expansion will

be further significantly disrupted and delayed.

       48.     Colonial has intentionally, recklessly and vexatiously delayed the relocation of its

pipelines and easement on the Airport’s property in an effort to avoid the expenses associated

therewith, for which it is obligated under the Easement.




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       49.      Colonial’s refusal to fulfill its contractual obligation to the Airport has caused

unnecessary delay to the TARI project and the Highway Project and has resulted in

consequential damages to the Airport.

                                     CAUSES OF ACTION

                        COUNT ONE: DECLARATORY JUDGMENT

       50.      The Airport incorporates the foregoing numbered paragraphs above as if fully set

forth herein.

       51.      The Easement states in relevant part that “Colonial will relocate its easements,

either those existing on property now owned or hereafter acquired by the Metropolitan Nashville

Airport Authority, at its sole cost and expense upon notification by the Metropolitan Nashville

Airport Authority that its lines interfere with the expansion, development, and/or construction

undertaken or to be undertaken by the Metropolitan Nashville Airport Authority, its successors,

assigns, agents, or employees.”

       52.      Colonial’s pipeline easement interferes with the expansion, development, and/or

construction currently being undertaken by the Airport, its successors, assigns, agents, or

employees. The Airport provided notification of the need to relocate the pipelines and easement

to Colonial in 2018. Nevertheless, Colonial has failed to relocate the pipelines and easement in

accordance with the Easement.

       53.      Pursuant to 28 U.S.C. §2201, the Airport seeks the declaratory judgment of this

Court that it is Colonial’s obligation to relocate its pipelines and easement at its sole cost and

expense pursuant to the express contractual terms of the Easement and that any dispute it may

have related to the line strike that occurred on April 9, 2019 or any dispute with TDOT regarding

the sharing of costs for those portions of the relocation project that may fall within TDOT’s right




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of way are not grounds for Colonial’s continued intentional, reckless and vexatious delay and

breach of its agreement with the Airport.

                          COUNT TWO: BREACH OF CONTRACT

       54.      The Airport incorporates the foregoing numbered paragraphs above as if fully set

forth herein.

       55.      An enforceable contract exists between the Airport and Colonial. The Easement

states in relevant part that “Colonial will relocate its easements, either those existing on property

now owned or hereafter acquired by the Metropolitan Nashville Airport Authority, at its sole cost

and expense upon notification by the Metropolitan Nashville Airport Authority that its lines

interfere with the expansion, development, and/or construction undertaken or to be undertaken

by the Metropolitan Nashville Airport Authority, its successors, assigns, agents, or employees.”

       56.      Colonial’s nonperformance under the Easement amounts to a knowing,

intentional, reckless, vexatious and material breach of contract. Colonial is aware of, and has

consciously disregarded, the facts that its pipeline easement interferes with the expansion,

development, and/or construction currently being undertaken by the Airport, its successors,

assigns, agents, or employees. The Airport provided notification to Colonial in 2018 and again

in March 2020 of the need to relocate the pipelines and easement. Nevertheless, Colonial has

egregiously failed to take the steps necessary to relocate the pipelines and easement in

accordance with the Easement in furtherance of its continuing effort to shake down the Airport

for reimbursement dollars and contract concessions.

       57.      The Airport has suffered and continues to suffer damages as a result of Colonial’s

material breach of contract. Colonial’s intentional impediment of steps necessary for the

relocation of its pipelines and easement in accordance with its obligation under the Easement has




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proximately caused significant delays to the BNA Vision renovation and expansion program and

damages to the Airport, including, but not limited to, lost (expected) profits, lost revenues, higher

construction costs due to delay, and other direct and indirect consequential damages, all of which

will only grow worse over time.

                                        COUNT THREE:

        BREACH OF IMPLIED DUTY OF GOOD FAITH AND FAIR DEALING

        58.     Plaintiff incorporates the allegations contained in Paragraphs 1 through 57 above

as if fully set forth herein.

        59.     The Easement, like every contract, contains an implied covenant of good faith and

fair dealing, which required the Parties to act with good faith and in a commercially reasonable

manner with respect to the Easement.

        60.     Colonial, in failing to fulfill its obligations under the Easement, and in

intentionally and needlessly delaying the relocation of its pipelines and easement, has acted in

bad faith and in an unreasonable manner with respect to the Easement.

        61.     Colonial has, therefore, breached its implied duty of good faith and fair dealing by

failing to act in good faith and in a commercially reasonable manner with respect to the

Easement.

        62.     Colonial’s breach of the implied duty of good faith and fair dealing has

proximately caused damages to the Airport, including, but not limited to, lost (expected) profits,

lost revenues, and other direct and indirect consequential damages.

                                    PRAYER FOR RELIEF

        WHEREFORE, premises considered, Plaintiff Metropolitan Nashville Airport Authority

respectfully requests that the Court:




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        a) grant a speedy hearing of this action and advance it on the calendar as provided

             by Fed. R. Civ. P. 57;

        b) enter a judgment declaring that Colonial is responsible for (1) relocating its liquid

             petroleum products pipeline and (2) the costs and expenses associated with

             relocating Colonial’s easement for a liquid petroleum products pipeline on real

             property owned by the Airport in Davidson County, Tennessee;

        c) enter a judgment setting a definitive schedule for Colonial to relocate the pipeline

             so as to avoid additional project delays and requiring Colonial to adhere to that

             schedule;

        d) enter a judgment finding that Colonial has materially breached the Easement by

             impeding the relocation of its pipelines on the Airport’s property;

        e) enter a judgment finding that Colonial intentionally, recklessly and vexatiously

             breached the Easement and the implied duty of good faith and fair dealing in its

             intentional, unnecessary delay of this project;

        f)   enter a judgment awarding the Airport compensatory and punitive damages in an

             amount to be proven at trial; consequential damages, including, but not limited

             to, lost (expected) profits, lost revenues and other direct and indirect

             consequential damages in an amount to be proven at trial and pre- and post-

             judgment interest;

        g) enter a judgment awarding to the Airport its reasonable attorneys’ fees and

             expenses incurred as a result of Colonial’s breach of its contractual obligations;

             and

        h) grant such other and further relief as this Court deems just, proper and equitable.




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Pursuant to Fed. R. Civ. P. 38 and 39, Plaintiff Metropolitan Nashville Airport Authority

demands a jury trial on all issues so triable.



                                                 Respectfully submitted,

                                                 s/ Paul S. Davidson
                                                 Paul S. Davidson (TN BPR # 011789)
                                                 Michael C. Brett (TN BPR # 037290)
                                                 Danielle N. Johns (TN BPR # 036064)
                                                 Waller Lansden Dortch & Davis, LLP
                                                 511 Union Street, Suite 2700
                                                 Nashville, TN 37219
                                                 Telephone: (615) 244-6380
                                                 Facsimile (615) 244-6804
                                                 Paul.Davidson@wallerlaw.com
                                                 Mike.Brett@wallerlaw.com
                                                 Danielle.Johns@wallerlaw.com

                                                 Counsel for Plaintiff Metropolitan Nashville
                                                 Airport Authority




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            EXHIBIT 1




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                                                    Clu" \      K. Gritfitli,
                                                    GRlh. I'iTII AND .STOKES

                        Dedication of Easement and Acrreemont


                        for and in consideration of the payment of thir

             five thousand dollars ($35,000.00) cash in hand paid and

             mutual benefits that will accrue by reason of the hereina

             described improvements and for the additional considerati

             hereinafter set out, the undersigned do hereby grant, bar
                                                9
             sell, transfer and convey unto Colonial Pipeline Company

             its successors and assigns, a permanent easement describe

             follows:


             All those certain strips of land situated in the 3rd, for
             the 2nd Civil District, Davidson County, Tennessee; said
             being 50 feet in width and lying 25 feet either side of t
             following described centerlines:

                  Reginning at a point, said point being N 32° 40' W,
                  33 feet more or less, from the northerly Right-Of-
                  Way line of Murray Lane; said point of beginning
                  being 10 feet more or less, easterly as measured at
                  right angles, from Colonial Pipeline Company's
                  existing line;

                  Thence through the lands of the Grantors along a lir
                  10 feet more or less, easterly from and parallel to
                  pipeline for the following seven courses and distant
                  N 32c 40' VI, 2072 feet; N 69° 51' W, 563 feet; jn 07“
                  47' W, 46 feet; S 76° 59' W, 604 feet; N 05°. 30' VJ,
                  S 82° 48' K, 152 feet; N 89° 22'- V7, 122 feet;

                  Thence crossing Colonial Pipeline Company's existinc
                  pipeline S 65° 54' VI, 69 feet to a point; said point
                  being 20 feet more or less, southerly, as measured
                  at right angles, from Colonial Pipeline Company's
                  existing pipeline;

                  Thence continuing through the lands'of the grantors
                  along a-, line 20 feet more or less, southerly from
                  and parallel to said pipeline the following 2 course
                  and distances:    S 87° 36' W, 21 feet; S 89° 03' VI, .'
                  feet more or less, to a point of exit, said point o:
                  exit being in the easterly Right-Of-Way line of
                  Donelson Pike, 20 feet more or less, southerly as
                  measured along said Right-Of-Way line of Donelson
                  Pike from Colonial Pipeline Company's existing pipe­
                  line ;

                  Thence continuing across said Donelson Pike, S 89°
                  03' VI, 89 feet more or less, to a point of re-entry
                  to grantor's land, said point of re-entry .being .in
                  the westerly Right.-Of-Way line of Donelson Pike, 56
                  feet more or less, southerly, as measured along sail
                  Right-Of-Way line of Donelson Pike from a fence
                  qor/ier of grantor's land;




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                    Thenc through the lands of said _,-antors, along a
                    line 20 feet more or less, southerly from and par­
                    allel to said Colonial Pipeline Company's existing
                    pipeline for the following 24 courses and distance:
                    S 89° 03' W, 37 feet more or less; N 84° 10' VJ, 28,
                    feet; S 84° 02'. W, 306 feet; S 60° 05' W 236 feet;
                    S 70° 52' W, 125 feet; w 88' Jts‘ W, 236 feet; N 78
                    54’ W, 177 feet; N 64° 03’ W, 102 feet; N 04° 42’ :
                    558 feet; N 37° 29' W, 139 feet; N   07° 42' E, 586
                    feet; N 69° 55' W, 891 feet; N 85°   03' W, 1035 fee
                    N 79° 42' W, 235 feet; N 89° 28' W, 69 feet; S 55°
                    17' W, 89 feet, N 81° 55' W, 331 feet; N 79° 09' w
                    162 feet; N 72° 40' W, 318 feet; N   79° 19' W, 361
                    feet; N 86° 58' W, 118 feet; N 79°   42' W, 335 feet
                    S 76° 01' W, 48 feet; S 06° 49' W, 337 feet;

                    Thence continuing along a line 5 feet more or less
                    southerly from and parallel to said pipeline S 57°
                    15' W, 68 feet more or less, to a point of exit.
                    Said point being in the easterly Right-Of-Way line
                    of McGavock Pike, said point of exit being 6 feet,
                    more or less, southerly, as measured along said Ri
                    Of-Way line of McGavock Pike from Colonial Pipelin
                    Company's existing pipeline;

                    Thence continuing across said McGavock Pike, S 57°
                    15' W, 87 feet, more or less, to a point of re-ent
                    to grantors land said point of re-entry being on t
                    westerly Right-Of-Way line of McGavock Pike, said
                    point of entry being 11 feet, more or less, southe
                    as measured along said Right-Of-Way line of McGavo
                    Pike from fence corner, being the intersection of
                    southerly Right-Of-Way line of Dabbs Avenue with t
                    westerly Right-Of-Way line of McGavock Pike;

                    Thence continuing along said line 5 feet, more or
                    southerly from and parallel to said existing pipel
                    S 57° 15' W, 71 feet, more or less, to a point, sa
                    point being 20 feet, more or .less, .southerly as me
                    at right angles from Colonial Pipeline Company's
                    existing pipeline;

                     Thence continuing through the lands of the Grantor
                     along a line 20 feet, more or less, southerly from
                     and parallel to said existingpipeline for the fol
                     seven courses and distances; N 84° 39' W, 486 feet
                     N 82° 57' W, 582 feet; S 74° 14' W, 700 feet; S 74
                     W, 647 feet; S 73° 05' W, 168 feet; S 75° 15' W, 5
                     feet; N 59° 59' W, 71 feet, more or less, to a poi
                     of exit, said point of exit being in the southerly
                     Right-Of-Way line of Dabbs Avenue, 28 feet more or
                     westerly, as measured along said Right-Of-Way line
                     Dabbs Avenue from Colonial Pipeline Company's exis
                     pipeline;

                     Thence continuing across said Dabbs Avenue, N 59°
                     W, 100 feet, more or less, to a point of re-entry
                     Grantors land, said point of re-entry being on the
                     northerly Right-Of-Way line of Dabbs Avenue, said
                     point of entry being 28 feet more or less, westerl
                     as measured along said Right-Of-Way line of Dabbs
                     Avenue from Colonial Pipeline Company's existing p
                     line;




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                                       -2-      Page 23 of 75 PageID #: 1098
               Thence cont. iuing along a line 20 feet, „,jre or less,
               southerly from and parallel to said pipeline the followir
               two courses and distances: N 59° 59' W, 892 feet, more
               or less; N 14° 59' W, 14 feet;

                Thence continuing through the lands of the Grantors,
               along a line 10 feet, more or less, southeriy from
               and parallel to said Colonial Pipeline Company's existinc
               pipeline, N 59° 59' W 87 feet, more or less, to a
               point of exit on the westerly property line of said
               Grantors; said property line being the easterly Right-
               Of-Way line of Briley Parkway, being 9 feet, more or
               less, southerly as measured along said Right-Of-Way
               line from a fence corner post of said Grantors land.

               In addition, Colonial is hereby granted a temporary
               construction easement thirty (30) feet wide and located
               on the north side of the above easement from Murray Lane
               running in a north and westerly direction until the ease­
               ment crosses an existing pipeline, approximately 203
               feet east of Donelson Pike. Thence, said construction ei
               ment will extend on the southerly side of said permanent
               easement except as otherwise shown on the attached Exhib:
               "A". Said easement shall lapse upon completion of const:


                    Colonial recognizes that certain portions of the ea:

          ment granted hereunder encroaches upon existing T.V.A. and ot.'

          public utility easements and assumes responsibility for- coord,

          its construction with the holders of such existing easements

          warrants that it will receive permission for such encroachmen

          and agrees to hold Authority harmless for failure to receive


                    This conveyance includes the right of Colonial Pipe

          Company, its servants and agents to construct, operate, maint

          repair, replace and inspect its liquid petroleum products pip

          line within the limits of the aforedescribed easement or righ

          of-way.

                    To have and to hold said easement or right-of-way t

          Colonial Pipeline Company, its successors and assigns forever

          do hereby covenant with said Colonial Pipeline Company that w

          are lawfully seized ana possessed of said land in fee simple

          have a good right to make this conveyance.


                    Colonial Pipeline Company hereby covenants that upo

          completion of construction it will restore the hereinabove de

          cribed property to its original condition, or as near thereto

          is reasonably possible.   The Metropolitan Nashville Airport d

          not waive any claim for damage in any manner for the negligen

          of any agent, representative or contractor for Colonial Pipel

          Company during the construction of any of the aforesaid imprc


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                            As further consideration for the granting of

               easement, Colonial Pipeline Company agrees to the foil


                            (1)   Colonial Pipeline agrees to defend and

               the Metropolitan Nashville Airport Authority free and

               from loss from each and every claim and demand of what

               nature, made on behalf of or by any person or persons,

               act or omission on the part of Colonial, its agents, s

               employees, suppliers, constructors or tenants.      It is

               tention that Colonial shall, at all times, and under a

               cumstances, hold the Metropolitan Nashville Airport Au

               free and harmless from any damages or judgments result

               aforesaid, by reason of any accident or injury to pers>

               property occurring on the premises or improvements the

               on any other property now owned cr subsequently purcha

               Metropolitan Nashville Airport Authority and on which i

               has located any facilities, except such as may be causi

               Metropolitan Nashville Airport Authority, its agents, :

               or employees.


                            In addition to the above, Colonial agrees to

               to the Metropolitan Nashville Airport Authority, upon •

               execution of this Agreement, certificates of a continu:

               lie liability and property damage insurance policy sat:

               to the Metropolitan Nashville Airport Authority, indent

               and holding the Metropolitan Nashville Airport Authori'

               its Board of Commissioners harmless against any and all

               arising out of the construction and subsequent use of ■

               demised premises, including all of its facilities nov; '

               on property owned by the Metropolitan Nashville Airpor'

               Authority.     Colonial further agrees to add to the poli<

               easements located on property as such is subsequently ;

               by the Metropolitan Nashville Airport Authority.      Such

               shall be.in the minimum amount of not less' than five hi




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              thousand do       rs   ($500,000.00)   for   oac.   arson, limited

              to   one million dollars ($1,000,000.00) for each occurred

              of personal injuries and five hundred thousand dollars

              ($5C0,0C0.00)     for property damage.        Colonial shall keep

              the same in force so long as Colonial uses any easement:;

              on Airport Authority property.


                          If Colonial shall at any time fail to insure c

             keep insured as aforesaid, the Metropolitan Nashville

             Airport Authority may do all things necessary to effect

             maintain such insurance, and all monies expended by it

             for that purpose shall be repayable by Colonial, in the

             the premium or premiums are paid by the Metropolitan Nas

             Airport Authority.


                          (2)   All construction will be completed accord

             to the requirements of existing codes and regulations of

             the Metropolitan Government of Nashville and Davidson Co

             Tennessee and in compliance with Part 77 of the Federal

             Aviation Regulations.        The plans and specifications for

             construction and all subsequent construction must first

             approved by the Metropolitan Nashville Airport Authority

             which approval shall be evidenced by a letter to Colonia

             from Metropolitan Nashville Airport Authority's Executiv

             Director.    Failure to reach agreement on plans and speci

             shall cause an immediate termination of this Agreement

             and Easement.      Colonial shall execute and deliver to the

             politan Nashville Airport Authority within thirty (30) d

             from the date hereof, and prior to construction, a bond

             form and with one or more sureties satisfactory to the M

             politan Nashville Airport Authority against all mechanic

             and other liens which may arise or be created in the con

             of its improvements, and providing further that when com)

             the said improvements and premises shall be free from an;

             all liens Colonial will secure all necessary permits, am




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                           (
               licenses from any governmental authority including any

               right or license needed to cross and/or tunnel public street

               right-of-ways.

                         (3)    Colonial will relocate its easements, either

               those existing on property now owned or hereafter acquired

              by the Metropolitan Nashville Airport Authority, at its sole

              cost and expense upon notification by the Metropolitan Nashville

              Airport Authority that its lines interfere with the expansion,

               development, and/or construction undertaken or to be under­

               taken by the Metropolitan Nashville Airport Authority, its

              successors, assigns, agents, or employees.


                         (4)    Colonial agrees to operate in such a way

               as to fully protect the Airport and its environs from any

              environmental pollution either through the air or water.

              Colonial further agrres to operate in accordance with Metro­

               politan Ordinance No. 68-554, entitled "An Ordinance Amending

               the Metropolitan Code, Chapter 4, Subchapter a, by Providing

              .for 7iir Pollution Control Within the Metropolitan Government

              Area."   Colonial further agrees to abide by all rules and

               regulations and administrative orders issued by the State

               Stream Pollution Control Board or other State agency res­

               ponsible for regulating environmental pollution.    Colonial

               further agrees to obey all rules, regulations and orders

               relating to environmental pollution promulgated by the

              Federal Government, and specifically those promulgated

               under Public Law 91-258, 91st Congress, entitled:       "Airport

               and Airway Development Act of 1970."


                         (5)    Colonial, for itself, its successors

               in interest, and grantees, as part of the consideration hereof,

               does hereby covenant and agree, as a covenant running with

               the land, that in the event facilities are constructed,

               maintained, or otherwise operated on the said property du-c:■

               in these easements, for a purpose for which a Department of




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                                        -6-     Page 27 of 75 PageID #: 1102
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              Transportation program or activity is extended or for am

              purpose involving the provision of similar services or 1>

              it shall maintain and operate such facilities and scrvic

              in compliance with all requirements imposed pursuant to

             Title 49, Code of Federal Regulations, Department of

             Transportation, Subtitle A, Office of the Secretary, Par

              21, Nondiscrimination in Federally-assisted programs of

             Department of Transportation-Effectuation of Title VI of

             Civil Rights Act of 1964, and as said Regulations may be

             amended.


                         Colonial, for itself, its successors in intere

              and grantees does hereby further covenant and agree as a

             covenant running with the land, that (1) no person on th

             grounds of race, color, age, sex, or national origin she

              sxcluded from participation in, denied the benefit of, c

             be otherwise subjected to discrimination in the use of s

              facilities,   (2) that in the construction of any improven

             on, over, or under such land and the furnishing of servi

             thereon, no person on the grounds of race, color, age, s.

             or national origin shall be excluded from participation

             denied the benefits of, or otherwise be subjected to dis

             nation,    (3) that it shall use the premises in compliance

              all other requirements imposed by or pursuant to Title

              49, Code of Federal Regulations, Department of Transport

             Subtitle A, Office of the Secretary, Part 21, Nondiscrii

              in Federally-assisted programs of the Department of Traj

             portation-Effectuation of Title VI of the Civil Rights 1

              of 1964, and as said Regulations may be amended.


                          (6)       In the event of breach of any of the abo’

              covenants, the Metropolitan Nashville Airport Authority

              have the right to re-enter said land and the above desc:

              easement shall thereupon revert to and vest in and becoi

              the absolute property of the Metropolitan Nashville Air;

              Authority and its assigns.




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                         (7)       The Metropolitan Nashville Airport Authori

               reserves unto itself, its successors and assigns, for the

               and benefit of the public, a right of flight for the pass

               of aircraft in the airspace above the surface of the ease

               and of the real property, hereinafter described, together

               with the right to cause in said airspace such noise as me

               be inherent in the operation of aircraft, now known or hs

               after used, for navigation of or flight in the said airsj

               and for use of said airspace for landing on, taking off :

               or operating on the Nashville Metropolitan Airport.


                         (8)       The Metropolitan Nashville Airport Author

               expressly agrees for itself, its successors and assigns,

               restrict the height of structures, objects of natural gr

               and other obstructions in the described easement, and re

               property to a height of not more than that prescribed in

               77 of the Federal Aviation Regulations.


                         (9)       The Metropolitan Nashville Airport Author

               expressly agrees for itself, its' successors and assigns,

               to prevent the use of the easement and real property wh:

               would interfere with or adversely affect the operation <

               maintenance of the Nashville Metropolitan Airport or otl

               constitute an airport hazard.




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Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 29 of 75 PageID #: 1104
                                  it.nesa wlicicof,    the. part^   have executed

              document on this the /VA. day of                        19 7 G .



              APPROVED AS TO FORM                        . iTTROPOLITAN NASHV.CLLE
              AND LEGALITY                               AIRPORT AUTHORITY




              Griffith ana Start's




                                                        COLONIAL PIPELINE COMPAN

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              WITNESS:




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            EXHIBIT 2




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                              MEMORANDUM OF UNDERSTANDING

    BETWEEN THE STATE OF TENNESSEE DEPARTMENT OF TRANSPORTATION

                  AND THE METROPOLITAN NASHVILLE AIRPORT AUTHORITY



             WHEREAS, the STATE OF TENNESSEE DEPARTMENT OF TRANSPORTATION

  (“Department”) proposes to construct a project within the geographical limits of the Metropolitan

  Government of Nashville and Davidson County, Tennessee, tentatively described as the

  realignment of Donelson Pike/State Route 255, PIN 116896.00 (the “Highway Project”), which

  Highway Project will require the Department to acquire real property and/or property rights from

  the METROPOLITAN NASHVILLE AIRPORT AUTHORITY (“MNAA”); and

             WHEREAS, the Parties wish to cooperate for the purpose of advancing the Highway

  Project;

         NOW, THEREFORE, the parties agree as follows:

             1.     In consideration for the construction and ongoing maintenance of the Highway

  Project by the Department, MNAA agrees to dedicate to the State of 'Tennessee at no additional

  cost a permanent right-of-way easement on real property owned by MNAA, said property

  tentatively described as the realigned Donelson Pike/State Route 255 (stretching from

  Murfreesboro Pike to the Interstate 40 Interchange) as required for Highway Project right-of-way,

  along with any additional temporary easemcnt(s) required for the Highway Project, as will be

  shown in detail on the Highway Project plans during design development. The Department agrees

  that said conveyance shall include a reversionary clause such that should the portion of land

  comprising said permanent right-of-way easement cease to be used as a state route, the Department




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   will abandon the easement and have no further property interest in the real property owned by

   MNAA.

          2.      MNAA agrees to sell to the State of Tennessee at fair market value the fee simple

   interest to real property owned by MNAA as required for controlled access right-of-way for the

   realigned Interstate 40 Interchange portion of the Highway Project, as will be shown in detail on

   the Highway Project plans during design development.

          3.      The Parties agree that the Department will design and construct the Highway

  Project, inclusive of “tie-ins” to the new MNAA Terminal Drive to be further defined during

  design development, as depicted in concept on Exhibit A attached hereto. MNAA in turn agrees

  to design and construct a new Terminal Drive inner roadway system as depicted in concept on

  Exhibit A (the “Airport Project”). Both Parties acknowledge that the Highway Project and the

  Airport Project are intended to proceed concurrently and agree to work together to develop a

  mutually beneficial phasing plan that maintains adequate access to airport facilities at all times and

  eliminates impacts to the traffic operations of the existing Interstate 40 Interchange throughout the

  duration of the Highway Project.

         4.      The Parties mutually agree to work together to analyze whether any fill material

  generated by the Airport Project in the area of the existing Donelson Pike alignment on MNAA

  property might be beneficial for the Department’s use in constructing the Highway Project.

         5.      The Highway Project is shown on the Department’s 2019-21 Comprehensive

  Multimodal Program with funding for the Right-of-Way Phase in Fiscal Year 2019 and the

  Construction Phase in Fiscal Year 2021.

         6.      The Parties agree that each shall conduct separate National Environmental Policy

  Act (“NEPA”) processes for their respective projects. The Department agrees to provide copies




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   of its completed technical studies and approved NEPA document for the Highway Project to

   MNAA for inclusion in MNAA’s NEPA process for the Airport Project.

          7.     Upon completion of the Highway Project, the Department agrees, in accordance

   with applicable laws, rules, and policies, including but not limited to Tenn. Code Ann. § 12-2-

   112(a)(8) and Department Policy 340-04, to accept application(s) from MNAA for the conveyance

  of surplus real property to MNAA, including portions of the existing controlled access right-of-

  way necessary for the Airport Project as will be shown in detail on the Highway Project plans

  during design development; however, the Parties understand that some portion(s) of said real

  property may revert to MNAA by operation of law upon completion of the Highway Project, and

  the Parties agree that the Department’s surplus real property application process shall not apply

  for any such portion(s) of real property. The Department further agrees that, in the event that

  MNAA needs temporary access to State right-of-way in order to accomplish the Airport Project,

  the Department will issue a Permit for Project Within Highway Right-of-Way to MNAA upon

  MNAA’s successful completion of the Department’s standard permitting process.

         8.      Upon completion of the Project, the Department agrees, in accordance with

  applicable laws, including but not limited to Title 54, Chapters 1 and 5, Tennessee Code

  Annotated, to be responsible for maintaining the realigned Donelson Pike/Statc Route 255

  highway constructed as part of the Highway Project. MNAA understands and agrees that utility

  installations may be permitted by the Department upon said pennanent easement in accordance

  with applicable laws, rules, and policies, including but not limited to Tenn. Comp. R. & Regs.

  1680-06-01.




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          9.     Each Party agrees to be responsible for its own negligent acts or omissions or those

  of its officers or employees arising out of this Memorandum of Understanding, to the extent

  permitted by law.

          IN WITNESS WHEREOF, the Parties have caused this Memorandum of Understanding

  to be executed by their duly authorized officials.




  METROPOLITAN NASHVILLE AIRPORT AUTHORITY




  STATE OF TENNESSEE
  DEPARTMENT OF TRANSPORTATION


                                                       DATE:     II   l(J/£
          John C. Schroer, Commissioner



   APPROVED AS TO FORM AND LEGALITY:


    BY:                 Mk -A-r                        DATE:   JijlkJjA
          John H. Reinbold, General Counsel


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                                                                 EXHIBIT A
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        EXHIBIT 3




Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 38 of 75 PageID #: 1113
                                                                               C:\pw_work\atknatn01\tuma2269\dms03159\Exhibit_Fuel Line Alignments_Option 1A.dwg




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                                                                                    NOT ISSUED FOR CONSTRUCTION




                                                                                                                                                                                     CONNECT TO EXISTING 8"
                                                                                                                                                                                                                                              0
                                                                                                                                                                                     AND 12" LINES FROM WEST TO
                                                                                                                                                                                     NEW 8" AND 12" LINES TO EAST

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                                                                                                                                                                                                                                         Membor of the S-SC-Lavai.fi Croup


                                                                                                                                  EXISTING 8" AND 12" LINES                                                                                    34 BNA Drive. Suite 600
                                                                                                                                        TO BE ABANDONED




                                                                                                                                                                                                  NEW 8" AND 12" LINES (BORE)




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                                                                                                                                                                                                         EXISTING 8" LINE TO BE                                      CX
                                                                                                                                                                                                         REMOVED OR ABANDONED




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                                                                                                                                                                                                         CONNECT NEW 8" LINE
                                                                                                                                                                                                                                           a: co
                                                                                                                                                                                                         FROM WEST TO EXISTING 8" LINE                               OCJ
                                                                                                                                                                                                         TO THE EAST                                                 <


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                                                                                                                                CONNECT NEW 12" LINE
                                                                                                                        FROM WEST TO EXISTING 12" LINE
                                                                                                                                                                      (TRENCH)
                                                                                                                                         TO THE EAST




                                                                                                                                                          -----EXISTING 12" LINE
                                                                                                                                                                                                                                                 DRAWING NAME
                                                                                                                                                                                                                                             OPTION 1B-
                                                                                                                                                                                                                                              PARTIALLY
                                                                                                                                            /                                      EXISTING 8" LINE
                                                                                                                                                                                                                                              COMPLETE
                                                                                                                                                                                                                                             RELOCATION
                                                                                                                                                                                                                                                DRAWING NUMBER




                                                                                                                  Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 40 of 75 PageID #: 1115
                                                                               C:\pw_work\atknatn01\tuma22R9\rims03159\Exhibit_Fuel Line Alignments_Option 2.dwg




Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 41 of 75 PageID #: 1116
                                                                                      NOT ISSUED FOR CONSTRUCTION




                                                                                                          V




                                                                                             j
                                                                                                 /                    CONNECT EXISTING 8" AND 12" LINES
                                                                                                                     FROM WEST TO NEW 8" AND 12" LINES
                                                                                                                                           TO THE EAST                               EXISTING 8" AND 12"
                                                                                                                                                                                     LINE TO BE ABANDONED
                                                                                                                                                                                     OR REMOVED




                                                                                                                                                                                                    CONNECT NEW 8" AND 12" LINES FROM
                                                                                                                                                                                                    WEST TO EXISTING 8” AND 12" LINE TO EAST
C:\pw_work\atknatn01\tuma2269\dms03159\Exhibit_Fuel Line Alignments_Option 3dwg.dwg




                                                                                                                                                                                                         EXISTING 8" LINE




                                                                                                                                                                                                         NEW 12" LINE TO AVOID CONFLICT
                                                                                                                                                                                                         WITH BRIDGE AND EW (ROAD)
                                                                                                                                                                                                         CONFLICT TO BE ADDRESSED BY DOT



                                                                                                                                                                                                                                               DESIGNED BY _
                                                                                                                                                                                                                                               DRAWN BY: Bl T
                                                                                                                                                          -EXISTING 12" LINE

                                                                                                                                                                                                                                                  OPTION 3 -
                                                                                                                                                                                                                                                   MINIMUM
                                                                                                                                                                                                                                                 RELOCATION
                                                                                                                                                                               - EXISTING 8" LINE
                                                                                                                                                                                                                                                   DRAWING NUMBER




                                                                                                                    Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 42 of 75 PageID #: 1117
        EXHIBIT 4




Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 43 of 75 PageID #: 1118
  From:             Morinec. Jim
  To:               Jacobsen. Dan: Rodrigues. Iaor: Andrew Fleming: Jeff Crisp: Mitchell. Codv
  Cc:               Holton. Traci: Martin. Margaret: Morrissey. Ted
  Subject:          Colonial Pipeline Relocation
  Date:             Thursday, September 19, 2019 4:04:50 PM
  Attachments:      image003.ipg
                    Donelson DSP OPT l.pdf


  A conference call was held on September 19 to discuss the proposed plan for relocating Colonial
  Pipelines in conjunction with the relocation of Donelson Pike and the MNAA TARI projects.
  Participants in the call: Dan Jacobsen, Colonial
  Igor Rodrigues, Colonial
  Andrew Fleming, Kleinfelder
  Jeff Crisp, Kleinfelder
  Cody Mitchell, MNAA
  Jim Morinec, MNAA
  The proposed alignment is shown in the attached plan. Colonial plans to relocate Line 19 from under
  the end of RWY 2L/20R to parallel Line 20 adjacent to the TVA. The relocation will begin at the
  L19/L20 split on the east side of the runway and follow L20 to a point east of the new Donelson Pike
  interchange. From this point both Lines 19 and 20 will follow a new alignment, using directional
  boring, to a point west of the Discreet Access exit from 1-40, where it will reconnect to the existing
  pipes. The existing pipeline system between these points will be abandoned in place.
  Points of Discussion:
      1. The existing easement for Line 20 that is adjacent to the TVA may need to be widened to
         accommodate the relocated Line 19. The design has not been developed yet to determine if
         this will be required.
      2. The new alignment that will be placed by directional boring will require a new easement. This
         easement travels through MNAA property, MNAA property that will become TDOT ROW,
         TDOT ROW that will revert back to MNAA, TDOT ROW that will be purchased by MNAA as
         excess lands, and TDOT ROW that MNAA may acquire for its new monument sign. The timing
         for all of these transactions is not known. Dan Jacobsen will ask his legal department to
         initiate conversations with MNAA and TDOT to allow the relocation to proceed in advance of
         the Donelson and TARI projects.
      3. The status of the easements for the existing lines to be abandoned in place needs to be
         determined.
      4. Colonial will provide available alignment and profile information for the lines to be
         abandoned. MNAA will evaluate this information to determine where the proposed projects
         will conflict. Colonial will remove the pipes in these areas. Even it the pipe is abandoned, if it is
         hit Colonial will shut down the entire system until its status is confirmed.
      5. It was noted that the proposed directional boring will pass near a water quality unit in Lot B
         and a TVA tower in the northwest corner of lot C. The pipeline profile should be able to avoid
         these obstacles, depending on the geotechnical conditions.
      6. Colonial asked for MNAA's contact with TVA.
      7. The project will involve two crossings of McCrory Creek. MNAA will provide permitting
         information based on a recently completed project for FAA cables.
      8. The Colonial project is anticipated to be completed in mid-2021. All existing pipes will remain
         in service until the product transmission can be switched to the relocated system.




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      9. It was pointed out the proposed relocation will also cross the existing sanitary sewer and FAA
           power and communication lines.
     10. Colonial will fully assemble the pipes that will be pulled into the directional bores. Cody
           Mitchell suggested a construction easement would typically not be required for the assembly
           area. Due to the amount of area required for this assembly, MNAA's legal department will be
           consulted to verify an easement will not be required.
  Please let me know of any corrections to this record.
  James Morinec, PE
  Project Manager, Design
  Development & Engineering
  Employed by: AECOM
  Office: 615-275-2430
  Cell: 615-478-2113
  One Terminal Drive, Ste. 501
  Nashville, Tennessee 37214




  FLYNASHVILLE.COM




Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 45 of 75 PageID #: 1120
                                       Nashville

                       3NA              International
                                         Airport




Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 46 of 75 PageID #: 1121
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                                                                                                                                                                                                  CONCEPTUAL PLANS
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                                                                                                                                                                 PROPOSED RELOCATION |
                                                                                             »WMllllilll|]»llllllll||ll|!llilH|MI|                                  OF LINF- 1'MU-INCH|




                                                                                                                                     '          LINE 20 TO BE
                                LEGEND                                                            NfliwiiiiiiiiiiniiiHinimmiH,            ABANDONED IN PLACE '


                                 EXISTING CPC LINE 20 (8-INCH)
                                                                   m
                                 EXISTING CPC LINE 19 (12-INCH)


                                 EXISTING UTILITY EASEMENTS           )
                                 EXISTING TVA OVERHEAD WIRES       &                     APPROXIMATE LENGTHS:
                                                                                                                                                                                                   COLONIAL PIPELINE COMPANY
                                                                                                                                                                                                    1185 SANCTUARY PARKWAY
                                                                                                                                                                                                            SUITE 110
«/»--------*/»---------EXISTING TDOT ROW                                  METHOD                                                                                                                      ALPHARETTA. 6A 30009
                                                                    A HDD
                                                                    4 OPEN CUT                                                                                                                            EXHIBITS
R/w---------r/w---------- r/w   PROPOSED TDOT ROW
                                                                          JACK AND BORE #1                                                                                                             07/19/2019
                                 PROPOSED HDD                             JACK AND BORE #2
                                                                                                                                                                                                                       EX-1
                                 PROPOSED OPEN CUT                        NITROGEN PUSH
                                 —---^




                                  Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 47 of 75 PageID #: 1122
        EXHIBIT 5




Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 48 of 75 PageID #: 1123
                                                        w

                                     STATE OF TENNESSEE
                                DEPARTMENT OF TRANSPORTATION
                                         REGION 3 UTILITIES DIVISION
                                          6601 CENTENNIAL BOULEVARD
                                        NASHVILLE, TENNESSEE 37243-0360
                                                  (615) 350-4200
 CLAY BRIGHT                                                                                      BILL LEE
  COMMISSIONER                                                                                    GOVERNOR




January 23, 2020

Mr. Jim Avioli, Managing Director
Commercial Affairs
Colonial Pipeline Co.
1185 Sanctuary Parkway, Suite 100
Alpharetta, GA 30009


Dear Mr. Avioli:


After review, Colonial Pipeline’s submitted A-Date relocation package for the l-40/Donelson Pike
Interchange and Relocation Project (PIN 116896.00) is rejected. The submitted package requests
100% reimbursement for engineering and construction for a proposed relocation that mitigates
conflicts created by two separate projects: the TDOT l-40/Donelson Pike Project and the MNAA TARI
Project.

 TDOT is able to reimburse Colonial for the portion of relocation that is required due only to a conflict
within the State's project limits. There are single perpendicular crossings for both Line 19 and Line 20
that are in conflict with the proposed relocation of S.R. 255 (Donelson Pike). Relocation efforts due to
conflicts associated with the MNAA TARI project will not be reimbursable by TDOT.

A "baseline" relocation plan and cost estimate (engineering & construction) for the relocation work
that is necessitated by conflicts with the TDOT project shall be provided by Colonial to the state. In
the event that an alternate relocation plan has greater benefits to Colonial Pipeline, such as a single
relocation that complements both the TDOT and MNAA projects, then Colonial shall provide a second
submittal containing the alternate relocation plan and cost estimate (engineering &
construction). Once the preferred relocation plan is reviewed and approved, Colonial will only be
eligible for reimbursement in the amount shown on the approved "baseline" cost estimate that
mitigates conflicts created by the TDOT project only.

Additional information including the exact location of the contaminated soils referenced in the
submittal is required to provide justification for the selection of the relocation alignment for Line 19. If
there are contaminated soils that impact how Colonial is able to relocate Line 19 in order to
accommodate the TDOT project (e.g. HDD limits extended to the east of the strike location) then any
such additional work should be included in the "baseline" plan and cost estimate referenced above.




     Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 49 of 75 PageID #: 1124
At your earliest convenience, please resubmit a revised A-Date package that represents the
engineering and construction costs for the mitigation of the TDOT l-40/Donelson project only


If I can be of further assistance, please do not hesitate to contact me by phone at (615)350-4234
or by email at iraj.eghbali@tn.gov


Respectfully,



Iraj Eghbali
Senior Transportation Project Specialist



CC: Mr. Shane Hester
    Ms. Leslie South
    Mr. Freddy Miller
    Mr. John Reinbold
    Mr. Jon Zirkle
    Mr. Jeff Hoge
    Mr. Michael Horlacher
    Mr. Cody Crews (GS)




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        EXHIBIT 6




Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 51 of 75 PageID #: 1126
                                                     One Terminal Drive, Suite 501
                                                       Nashville, Tennessee 37214
                                                                     615-275-1600
                                                                                                  NA
                                                                                           Nashville
                                                                  flynashville.com         International
                                                                                           Airport




 March 24, 2020

 Colonial Pipeline Company
 Attn: Preston Morrison
 1185 Sanctuary Parkway, Suite 100
 Alpharetta, GA 30009

 Re: Easement Relocation

 Dear Mr. Morrison:

 Colonial Pipeline Company (“Colonial”) and Metropolitan Nashville Airport Authority (“MNAA”) are
 parties to a Dedication of Easement and Agreement dated May 14, 1976 (the “Easement”) in which
 MNAA granted Colonial a permanent easement for the construction, operation, and maintenance of a
 liquid petroleum pipleline.

 Colonial is aware from prior discussions with MNAA dating back to July 2018 that the current location of
 Colonial’s easements (shown on the attached drawing) interfere with MNAA’s plans for expansion and
 related construction and that, with respect to movement of the lines, time is now of the essence.

 MNAA’s plans to expand their airport operations require a relocation of the pipeline and the easement.
 All points of conflict with the existing pipeline and easement are shown on the attached drawing. Section
 3 of the Easement provides that Colonial will relocate its casements at its sole cost and expense upon
 notification from MNAA that its lines interfere with the expansion, development, and/or construction to
 be undertaken by MNAA.

 This letter shall serve as MNAA’s formal notice of Colonial’s easement interference and its demand that
 Colonial relocate its pipelines at its sole cost and expense as required under Section 3 of the Easement.

 We appreciate your cooperation and look forward to working with Colonial in the immediate future to
 finalize plans to relocate the easements. MNAA will be in touch soon to finalize a plan to relocate the
 pipeline.

 Feel free to contact me should you have any questions.

 Regards,


 Jr
 Assistant VP of Real Estate



                                                  Nashville.




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                                               METROPOLITAN NASHVILLE AIRPORT AUTHORITY
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                                 NOT FOR      TERMINAL ACCESS ROADWAY IMPROVEMENTS (TARI)
                                                                                            Nashville
  CK, BYi
                              CONST RUCTION                                                  International
  DATEi ____________
                                                  COLONIAL PIPELINE - POINTS OF CONFLICT      Airport
Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 53 of 75 PageID #: 1128
        EXHIBIT 7




Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 54 of 75 PageID #: 1129
                                                           Colonial Pipeline Company

Meg Blackwood, Deputy General Counsel                                           Mobile Phone:     (678)221-1960
                                                                                nihlackwoodio colpipc.coin


                                                  April 8, 2020

John A. Corbitt
Assistant V.P. of Real Estate
Metropolitan Nashville Airport Authority
One Terminal Drive, Suite 501
Nashville, TN 37214

        Re:     Colonial Pipeline Easement Relocation

Dear Mr. Corbitt:

         I am responding to your letter of March 24, 2020, to Colonial Pipeline Company (Colonial)
providing notice that the expansion plans of Metropolitan Nashville Airport Authority (MNAA)
require relocation of a Colonial pipeline and easement. Your letter was addressed to Skip Morrison,
but, as T mentioned to you last week via e-mail, Mr. Morrison retired from Colonial in December
2017. That caused some delay as the letter had to get routed to me while we are on work from home
directives as a result of the pandemic. Please be sure that any further correspondence is directed to
the General Counsel or to me. Also, please note the conflicts marked on the drawing attached to your
letter will affect portions of two Colonial pipelines and related easements. Colonial acknowledges
your letter as the notice required under section 3 of the Easement Agreement referenced in your letter
for all easements affected by these conflicts.

        As MNAA is aware, for some time, Colonial has been in the process of planning a relocation
of its two pipelines (Lines 19 and 20) that are impacted by the planned Tennessee Department of
Transportation (TDOT) Donelson Pike 1-40 interchange expansion and relocation project and
MNAA’s planned expansion project. It is our understanding TDOT and MNAA are coordinating
various aspects of these two projects. Indeed, since at least September 2018, when TDOT hosted a
field review meeting that was attended by representatives from TDOT, MNAA, Colonial and other
impacted utilities, TDOT has taken the lead for utility relocation on both projects. Our understanding
is that TDOT has shared information with MNAA about the impact that MNAA’s and TDOT’s
projects will have on Colonial’s pipelines.

        The relocation of Colonial’s pipelines is a complex, multi-million dollar project that takes a
great deal of coordination and planning, particularly when (as is the case here) the relocation is done
at the request of a third-party and not because of Colonial’s own operational needs. In this specific
instance, the process is even more complicated because of the incident that occurred on April 9, 2019,
when a TDOT geotechnical crew, working in conjunction with MNAA, struck Colonial’s Line 19.


                             1185 Sanctuary Parkway, Suite 100; Alpharetta, Georgia 30009
                                   P.O. Box 1624; Alpharetta, Georgia 30009-9934


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John A. Corbitt
April 2, 2020
Page 2



The contamination from that incident has caused Colonial to have to reconfigure its relocation plans.
Nevertheless, Colonial remains committed, as we have been since 2018, to working with TDOT and
MNAA to accomplish the requested relocation.

        It is not cost effective or desirable for Colonial to do separate pipeline relocation projects to
address the TDOT and MNAA projects. Accordingly, Colonial has been in discussions with TDOT
and MNAA for some time about Colonial’s proposed plan to do a single project, relocating both
pipelines in a manner that would address all conflicts with the TDOT project and the MNAA project.
In fact, representatives from MNAA and Colonial have had several meetings since 2018 (both in
Alpharetta and Nashville) to discuss various technical aspects of the relocation, including the
proposed route of the relocation. Colonial trusts that MNAA will continue to work with TDOT and
us on that effort. We are happy to discuss all of this with you.

        Finally, aside from the complicated technical aspects of relocating our lines, the associated
costs (which require Board level approval at Colonial) are directly tied to the scope of the project that
has not been finalized. There are complicated interwoven issues related to payment for our relocation
caused by the presence of the two projects, which need to be resolved before we seek Board level
approval. We reserve all of our rights, including but not limited to rights under the Easement
Agreement, with respect to payment for the proposed relocation.

        Thus, we appreciate the notice under section 3 of the Easement Agreement, and we remain
committed to working cooperatively to finalize the scope, timing and payment of the relocation
projects. We look forward to making further progress with MNAA and TDOT on these topics. Thank
you.


         Best regards,


         /s/   Meg BtzucJa/votwf

         Meg Blackwood
         Deputy General Counsel, Colonial Pipeline Company




Error! Unknown document property name.




                                1185 Sanctuary Parkway, Suite 100; Alpharetta, Georgia 30009
                                       P.O. Box 1624; Alpharetta, Georgia 30009-9934



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            EXHIBIT 8




Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 57 of 75 PageID #: 1132
                                         STATE OF TENNESSEE
                                    DEPARTMENT OF TRANSPORTATION
                                REGION 3 PROJECT DEVELOPMENT/UTILITIES DIVISION
                                           6601 CENTENNIAL BOULEVARD
                                         NASHVILLE, TENNESSEE 37243-0360
                                                  (615) 350-4250
 CLAY BRIGHT                                                                                          BILL LEE
  COMMISSIONER                                                                                          GOVERNOR



                                                 July 16, 2020

 Mr. Jim Avioli, Managing Director
 Commercial Affairs
 Colonial Pipeline Co.
 1185 Sanctuary Parkway, Suite 100
 Alpharetta, GA 30009


 Subject: Davidson Co. PIN 116896/1-40 /Donelson Pike Interchange gas pipeline relocation package



 Dear Mr. Avioli;

 After review, Colonial's re-submitted A-Date relocation package for the l-40/Donelson Pike Interchange
 and Relocation Project (PIN 116896.00) dated May 20, 2020 is rejected. The submitted package reflects
 relocating Line 19 (12" pipeline) alongside/parallel to Line 20 (8" pipeline) requiring an additional 5,800
 linear feet relocation of Line 19. TDOT and the Federal Highway Administration (FHWA) acknowledges
 that the consolidation of Colonial's facilities on the Metro Nashville Airport Authority's property is an
 improvement for the long term maintenance and longevity of the pipeline; however, this improvement
 is defined as "betterment" and cannot be fully reimbursed by TDOT for this project.

 TDOT is able to reimburse Colonial for the portion of relocation that is required due only to a conflict
 within the State's project limits. There are single perpendicular crossings for both Line 19 and Line 20
 that are in conflict with the proposed relocation of S.R. 255 (Donelson Pike). Relocation efforts due to
 conflicts associated with the MNAA TARI project or to improve existing infrastructure will not be
 reimbursable by TDOT.

 Attached is an example "baseline" relocation plan prepared by an independent consultant on the behalf
 of TDOT. The plan reflects relocation work necessitated by conflicts with the TDOT project to mitigate
 the 41' cut on Line 19 and 37' fill over Line 20. Both relocations require a Horizontal Direction Drill (HDD)
 across the proposed TDOT project limits to provide adequate vertical separation from the proposed
 excavation and/or infrastructure to protect the pipeline from TDOT construction activities. Based on
 field data collected from the April 9, 2019 line strike, Line 19 is shown to be relocated south of the line
 strike location with the proposed HDD entry point located approximately 260' south-east of the strike
 location. Using historical data on relocation costs across the southeast for similar pipeline relocations it




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  is estimated that a "baseline" relocation would cost approximately $6 million or 50% of Colonial
  Pipeline's estimate submitted on May 20, 2020.

  To request reimbursement for this project, a "baseline" relocation plan and cost estimate (engineering &
  construction) for the relocation work that is necessitated by conflicts with the TDOT project shall be
  provided by Colonial to the state. Once the preferred relocation plan is reviewed and approved, Colonial
  will only be eligible for reimbursement in the amount shown on the approved "baseline" cost estimate
  that mitigates conflicts created by the TDOT project only. Colonial may still pursue other routes that do
  not conflict with either project like the one attached or the originally proposed or other but the
  reimbursement rate regardless of total cost will not exceed the "baseline" estimate.

  At your earliest convenience, please resubmit a revised A-Date package that represents the engineering
  and construction costs for the mitigation of the TDOT l-40/Donelson project only. The package should be
  addressed to Mr. Iraj Eghbali, TDOT Region 3 Utility Manager.

  If you have further questions or need more information you may contact me at 615-350-4234 or by
  email at iraj.eghbali(a>tn.gov


  Sincerely,
                            A




  Iraj Eghbali
  Senior Transportation Project Specialist
  TDOT Region 3 Utility Office



  Cc:     Mr. JeffHoge
          Mr. Michael Horlacher
          Mr. Shane Hester
          Mr. Jon Zirkle
          Ms. Leslie South
          Mr. Freddy Miller
          Mr. John Reinbold
          Mr. Cody Crews (GS)




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        EXHIBIT 9




Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 60 of 75 PageID #: 1135
  From: Blackwood, Meg <mblackwood@colpipe.com>
  Sent: Thursday, August 13, 2020 12:55 PM
  To: Paul Davidson <Paul.Davidson@wallerlaw.com>; 'Hughes, Wearen' <WHughes@bassberry.com>
  Cc: Goddard, Drew <DGoddard@bassberry.com>; Morrissey, Ted <Ted.Morrissey@flynashville.com>
  Subject: RE: CP/MNAA line relocation meeting



  | External Message


  Paul:

  Without agreeing to the specific statements in your email, Colonial will abide by your postponement
  of the meeting. I will send out the cancelation notification.


  Colonial remains willing to meet in the future under the proper circumstances. We should continue
  to discuss when that meeting should take place and the appropriate agenda for it. In the meantime,
  if your clients have any specific questions or concerns related to Colonial and the proposed
  relocation project that they would like to discuss with us, we would be happy to talk.


  Best regards,
  Meg




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             Meg T. Blackwood | Deputy General Counsel
             Colonial Pipeline Company
             o. 678.762.2644 | m. 678.221.1960 | www.colDipe.com




  Colonial Pipeline Notice - This e-mail message (including any attachment) contains information that may
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  you are not the intended recipient, please notify the sender by electronic mail or telephone and delete the
  original message without making any copies. Use, dissemination, distribution, or reproduction of this
  message by unintended recipients is not authorized and may be unlawful.


  From: Paul Davidson <Paul.Davidson(S)wallerlaw.com>
  Sent: Thursday, August 13, 2020 12:18 PM
  To: Blackwood, Meg <mblackwood(5)colpipe.cotn>; 'Hughes, Wearen' <WHughes@bassberry.com>
  Cc: Goddard, Drew <DGoddard@bassberrv.com>: Morrissey, Ted <Ted.Morrissey@flynashville.com>
  Subject: [External Message] RE: CP/MNAA line relocation meeting


                                 WARNING: This email originated outside of Colonial Pipeline.
                    DO NOT CLICK links or attachments unless you recognize the sender and know the content is safe.




  Meg, the meeting we proposed between TDOT, Colonial and the Airport was
  meant to get all parties involved in the pipeline relocation to jointly identify and
  resolve any open issues so that the Airport's expansion project could move
  forward without further delay. TDOT and the Airport are transparently
  coordinating their efforts in this regard as efficiently and cost effectively as
  possible. Colonial's refusal to provide the Airport with a clear and concise
  statement of its position regarding movement of the pipeline and its refusal to
  discuss any open issues or concerns together with TDOT and the Airport
  unnecessarily frustrates those efforts. Given the restrictions Colonial
  unilaterally imposes in your email below, the Airport believes it best to
  postpone any meeting until after Colonial identifies and communicates what
  issues related to the pipeline relocation it believes are so unique to the Airport
  that they should not be discussed in TDOT's presence. We appreciate Colonial
  taking the time it had set aside for today's meeting to do so.


  Thank you,


  Paul




Case 3:20-cv-00809 Document 94-1 Filed 10/13/21 Page 62 of 75 PageID #: 1137
  Paul S. Davidson
  Partner

  waller
  Waller Lansden Dortch & Davis. LLP
  511 Union Street, Suite 2700
  Nashville, TN 37219
  (0)615.850.8942
  (m)615.504.0543
  pdavidson@ wallerlaw.com@wallerlaw.com
  vCard



  From: Blackwood, Meg <mblackwood@colpipe.com>
  Sent: Wednesday, August 12, 2020 8:41 PM
  To: Paul Davidson <Paul.Davidson@wallerlaw.com>: 'Hughes, Wearen' <WHughes@bassberry.com>
  Cc: Goddard, Drew <DGoddard@bassberrv.com>: Morrissey, Ted <Ted.Morrissey@flynashville.com>
  Subject: RE: CP/MNAA line relocation meeting



  | External Message


  Paul:


  In the spirit of good faith and cooperation, we are willing to attend the meeting tomorrow.
  However, we do not agree that the agenda items you've listed are appropriate for the audience who
  will be there. This meeting was meant to be a discussion between Colonial and MNAA to discuss
  issues that are unique to our clients. It is not appropriate for TDOT to be involved in those
  conversations, and so if they attend the meeting tomorrow, we will not discuss those issues. To
  reiterate what I've said before, several times, we are not opposed to having another meeting with
  TDOT and MNAA to discuss the issues that may apply to everyone, but we are not willing to discuss
  concerns that are uniquely MNAA/Colonial in the presence of TDOT.


  Best regards,

             Meg T. Blackwood | Deputy General Counsel
             Colonial Pipeline Company
             o. 678.762.2644 | m. 678.221.1960 | www.colpioe.com




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  From: Paul Davidson <Paul.Davidson@wallerlaw.com>
  Sent: Wednesday, August 12, 2020 7:37 PM
  To: Blackwood, Meg <mblackwood@colpioe.com>: 'Hughes, Wearen1 <WHughes@bassberry.com>
  Cc: Goddard, Drew <DGoddard@bassberrv.com>: Morrissey, Ted <Ted.Morrissey(5)flynashville.com>
  Subject: [External Message] RE: CP/MNAA line relocation meeting


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  Meg, I include a proposed agenda below that has been approved by the Airport
  and TDOT. TDOT's representatives at the meeting, if Colonial will reconsider
  and participate, will be Shane Hester, Regional Director of Project
  Development. He is familiar with the pipeline relocation issues and has
  consistently participated in meetings and teleconferences with both the Airport
  and Colonial. Leslie South, Deputy General Counsel and John Reinbold also
  plan to join the meeting. On the Airport's side, Margaret Martin, Traci Holton,
  Cody Mitchell, Jim Morinec, Ted Morrissey and I plan to attend.


  The Airport is committed to coordinate efforts with TDOT to minimize public
  costs and project delays. We have previously made it clear that it is time for
  the Airport, TDOT and Colonial to join in a meeting to discuss all open pipeline
  relocation issues.



  I.       Introductions of Participants and their roles (Airport, Colonial, TDOT)
  II.     Airport's Summary of Expansion Plans and Prior Discussions with Colonial
  re Pipeline Relocation
  III.    Timeline for Pipeline Relocation
          a.       Airport's requirements
          b.       TDOT's requirements
  IV.      Colonial's Relocation Route
          a.       Timing of final plan submittal
          b.       Time to complete
          c.       Open business, governance, technical or legal issues
          d.       Impacts/complications from line strike


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  V.      Funding issues
  VI.     Next Steps


  Thank you,


  Paul
  Paul S. Davidson
  Partner

  waller
  Waller Lansden Dortch & Davis. LLP
  511 Union Street, Suite 2700
  Nashville, TN 37219
  (0)615.850.8942
  (m)615.504.0543
  pdavidson@ wallerlaw.com@wallerlaw.com
  vCard



  From: Blackwood, Meg <mblackwood@colpipe.com>
  Sent: Wednesday, August 12, 2020 4:08 PM
  To: Paul Davidson <Paul.Davidson(5)wallerlaw.com>: 'Hughes, Wearen1 <WHughes|5)bassberry.com>
  Cc: Goddard, Drew <DGoddardtaibassberry.com>
  Subject: RE: CP/MNAA line relocation meeting



  | External Message


  Paul:


  Thank you for your note. We do not agree that TDOT should attend this meeting and are not
  comfortable moving forward tomorrow with TDOT present. While we prefer to do one relocation
  project, rather than move piecemeal, as my letter stated, there are issues with the relocation
  project that are distinct to TDOT and your client. We are addressing the TDOT issues with TDOT,
  separately, and we want to do the same thing with your client. If it makes sense in the future to
  invite TDOT to meetings, we can do that, but I would ask that we have those discussions and reach
  an agreement before you forward meeting invitations to TDOT or other third-parties.


  If your client is unwilling to proceed without TDOT's presence at the meeting, please let me know,
  and I'll cancel the meeting. However, if we are moving forward tomorrow, we are still waiting on the
  Airport's proposed agenda items. Please send those along so that we're prepared to address your



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  client's questions. I sent you our items yesterday.


  Best regards,
  Meg

             Meg T. Blackwood | Deputy General Counsel
             Colonial Pipeline Company
             o. 678.762.2644 | m. 678.221.1960 | www.colDipe.com




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  From: Paul Davidson <Paul.Davidsomawallerlaw.com>
  Sent: Tuesday, August 11, 2020 6:04 PM
  To: Blackwood, Meg <mhlackwood@colpipe.com>: 'Hughes, Wearen1 <WHughes(5)bassberry.com>
  Cc: Goddard, Drew <DGoddardfS>bassberrv.com>
  Subject: [External Message] RE: CP/MNAA line relocation meeting


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  Meg, for many of the reasons stated in your attached letter, and the fact that
  there seems to be a disconnect between what we've heard from Colonial and
  TDOT as to the status, we feel it appropriate to invite TDOT to this meeting.
  Sorry if my message wasn't clear. I passed the invite to John Reinbold so that
  he could determine who would be best on the project side to attend from
  TDOT. I believe he will let us know.


  Hope that helps,


  Paul


  Paul S. Davidson
  Partner

  waller
  Waller Lansden Dortch & Davis, LLP
  511 Union Street, Suite 2700


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  Nashville, TN 37219
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  pdavidson@wallerlaw.com@wallerlaw.com
  vCard



  From: Blackwood, Meg <mblackwood@colpipe.com>
  Sent: Tuesday, August 11, 2020 4:17 PM
  To: Paul Davidson <Paul.Davidson(5)wallerlaw.com>: 'Hughes, Wearen1 <WHughes(S)bassberry.com>
  Cc: Goddard, Drew <DGoddard@bassberrv.com>
  Subject: RE: CP/MNAA line relocation meeting



  | External Message


  Paul:


  We don't think it's necessary or productive to include TDOT on this particular call. We understood
  the purpose of this call was to exchange information about the Airport's intended work, how that
  impacts Colonial, etc. As I mentioned during our prior conversation, Colonial has had many
  conversations with TDOT about their Donelson Pike project and how that impacts the pipeline,
  including one last week. If you can provide me with some clarity about why you think it's important
  to have TDOT, and in particular their legal counsel versus their technical/engineering people,
  participate in this meeting, that would be helpful.



             Meg T. Blackwood | Deputy General Counsel
             Colonial Pipeline Company
             o. 678.762.2644 | m. 678.221.1960 | www.colpipe.com




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  From: Paul Davidson <Paul.Davidson(5)wallerlaw.com>
  Sent: Tuesday, August 11, 2020 3:14 PM
  To: Blackwood, Meg <mblackwood(5)colpipe.com>: 'Hughes, Wearen' <WHughestaibassberry.com>
  Cc: Goddard, Drew <DGoddard@bassberry.com>
  Subject: [External Message] RE: CP/MNAA line relocation meeting




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  Meg, I've forwarded the invitation to Ted Morrissey and John Reinbold. Both
 the Airport and TDOT will have representatives on the call. I will let you who
 when I know.


 Thank you,


  Paul
  Paul S. Davidson
  Partner

  waller
  Waller Lansden Dortch & Davis. LLP
  511 Union Street, Suite 2700
  Nashville, TN 37219
  (0)615.850.8942
  (m)615.504.0543
  pdavidson@ wallerlaw.com@wallerlaw.com
  vCard



  From: Blackwood, Meg <mblackwood(5)colpipe.com>
  Sent: Tuesday, August 11, 2020 11:26 AM
  To: Paul Davidson <Paul.Davidson@wallerlaw.com>: 'Hughes, Wearen1 <WHughgs@bassbgrry,cQm>
  Cc: Goddard, Drew <DGoddard@bassberrv.com>
  Subject: RE: CP/MNAA line relocation meeting



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  The time on Friday is no longer available. Our Managing Director, Commercial Affairs has a conflict
  on Friday.



               Meg T. Blackwood | Deputy General Counsel
               Colonial Pipeline Company
               o. 678.762.2644 | m. 678.221.1960 | www.colpiDe.com




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  From: Paul Davidson <Paul.Davidson@wallerlaw.com>
  Sent: Tuesday, August 11, 2020 12:24 PM
  To: 'Hughes, Wearen' <WHughes@bassberrv.com>
  Cc: Goddard, Drew <DGoddard@ha.ssberry.com>: Blackwood, Meg <mblackwood@colpipe.com>
  Subject: [External Message] RE: CP/MNAA line relocation meeting


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  And please let me know if times on Friday time are still available.


  Paul S. Davidson
  Partner

  waller
  Waller Lansden Dortch & Davis. LLP
  511 Union Street, Suite 2700
  Nashville, TN 37219
  (o)615.850.8942
  (m)615.504.0543
  pdavidson@wallerlaw.com(a)wallerlaw.com
  vCard



  From: Hughes, Wearen <WHughes@bassberry.com>
  Sent: Tuesday, August 11, 2020 11:22 AM
  To: Paul Davidson <Paul.Davidson@wallerlaw.com>
  Cc: Goddard, Drew <DGoddard@bassberrv.com>: Meg Blackwood (mblackwood@colpipe.com)
  <mblackwood@colpipe.com>
  Subject: RE: CP/MNAA line relocation meeting



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  Meg: do you have that time handy? I'm looking for your email to me that gave that.



  r                                                               1



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  Wearen Hughes
  Member

  Bass, Berry & Sims PLC
  150 Third Avenue South, Suite 2800 • Nashville, TN 37201
  615-742-6225 phone • 615-742-2725 fax
  WHuphes@bassberrv.com • www.bassberrv.com


  From: Paul Davidson <Paul.Davidson@wallerlaw.com>
  Sent: Tuesday, August 11, 2020 11:17 AM
  To: Hughes, Wearen <WHughes@bassberry.com>
  Cc: Goddard, Drew <DGoddard@bassberry.com>: Meg Blackwood fmblackwood@colpipe.com)
  <mblackwood@colpipe.com>
  Subject: RE: CP/MNAA line relocation meeting


  What time on Thursday do you propose?


  Paul S. Davidson
  Partner

  waller
  Waller Lansden Dortch & Davis. LIE
  511 Union Street, Suite 2700
  Nashville, TN 37219
  (o)615.850.8942
  (m)615.504.0543
  pdavidson@ wallerlaw.com@wallerlaw.com
  vCard



  From: Hughes, Wearen <WHughes@bassberry.com>
  Sent: Tuesday, August 11, 2020 11:12 AM
  To: Paul Davidson <Paul.Davidson@wallerlaw.com>
  Cc: Goddard, Drew <DGoddard@bassberrv.com>: Meg Blackwood (mblackwood@colpipe.coml
  <mblackwood@colpipe.com>
  Subject: CP/MNAA line relocation meeting



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  Meg asked me to convey this information to you. The following individuals will be attending the



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  meeting on Thursday re the line relocation on behalf of Colonial: Jim Avioli (Managing Director,
  Commercial Affairs), Leo Bermudez (Director of Project Management) and Don Pozin (Manager,
  Relocation Projects). Meg will be attending the meeting also, because you intend to participate, but
  CP views this more of a business-to-business than a legal meeting. CP anticipates the Airport will
  initiate or lead the discussion.


  CP does not have a formal agenda, but the items it would recommend discussing are:

       •     Overview of the work that the Airport wants to do and timetable to complete it


       •     Discussion of Colonial proposed relocation, including impacts/complications from line strike


       •     Discussion of funding and timeline.


  There might be some other things that arise during the course of the conversation, but those are the
  main points.




  Wearen Hughes
  Member

  Bass, Berry & Sims PLC
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  615-742-6225 phone • 615-742-2725 fax
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      EXHIBIT 10




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                 Colonial Pipeline Company



 Don Pozin                                                                   Phone: (678) 762-2592
 Manager, Relocation Projects                                                Mobile: (404)273-5448
                                                                             E-mail: dpozin@colpipe.com



 April 8, 2021

 Mr. Iraj Eghbali
 Senior Transportation Project Specialist
 Project Development Division /Utility Office
 Region 3 Administrative Office, 2nd Floor
 6601 Centennial Blvd., Nashville, TN 37243-0360

 Dear Mr. Eghbali:

 Colonial is in receipt of your letters dated 10/26/20 and 1/8/21. The letters included offers by
 TDOT to reimburse Colonial 30% of all actual, eligible costs related to the entire relocation of
 our pipelines and 25% of all actual costs incurred by Colonial to obtain a replacement
 easement, respectively. Both of these offers relate to the work that would be necessary to
 relocate both of our active pipelines to accommodate the Donelson Pike Expansion and MNAA
 TARI projects.

 I have discussed these issues several times since January with Jon Zirkle and have let him
 know that Colonial is in general agreement with these offers. However, as TDOT is well aware,
 this is not a standard relocation project. This project involves not only the TDOT work related to
 Donelson Pike but also relocation to accommodate MNAA’s TARI project. Colonial cannot
 execute any agreements with TDOT related to its portion of the relocation until we have all the
 relocation project plans finalized. Despite our diligent efforts, including in the mediation over the
 last few months in which TDOT has been involved, to date Colonial has not been able to reach
 an agreement with MNAA on how the portions of the relocation project that are directly
 related to the TARI project will be funded, or the timeline for the project. Those key issues, as
 well as other important ancillary issues, such as ROW agreements for areas where the
 relocated pipeline will be placed, must be decided before we can enter into any agreements
 related to the relocation project. As you also know, a further complicating issue is that, on April
 9, 2019, a crew working for TDOT, with the involvement of MNAA and AECOM, struck
 Colonial’s Line 19, which resulted in gasoline being released and contaminating soil and
 groundwater in the area. As we have discussed with TDOT and MNAA, this contamination has
 impacts on the relocation project that must be addressed before we can finalize the relocation
 plans and agreements.

 Colonial is willing to move forward and collaborate with TDOT on submitting a revised A-Date
 package that would show the cost apportionment outlined above. The A-Date package has a
 section on Page 6.1 for schedule. At this time, Colonial would be able to include a revised set
 of “Days to Complete” requested on this page, but we would need to include a statement in the
 Special Conditions section that the number of calendar days will begin shortly after reaching
 global resolution with all parties.




                                                                                           Kirarai
             85 Sanctua y Parkway, Suit*   LOO   Alphar* tta, Georgia   30009-4765 I www.colpipe.com


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                                                                                                          TDOT0001806
                                    Colonial Pipeline Company



 I must also mention that Colonial takes exception to a number of technical items raised by
 TDOT in the letters we received, specifically around labor rates, number of inspectors,
 appropriate contingency factor, and some other items. We believe that these are less impactful
 differences and can be worked out collaboratively when completing the A-Date package. With
 Colonial potentially bearing a significant portion of the cost for the relocation, we are as
 motivated as ever to complete the project in an efficient and cost effective manner without
 sacrificing safety or quality.

 We remain hopeful that a global resolution with all parties can be achieved soon and work can
 begin in earnest to relocate our pipelines. I look forward to working with you and Jon to
 complete an acceptable A-Date package.

 Best Regards,


 Don Pozin
 Manager, Relocation Projects




                                                                                M

                 1185 Sanctuary Parkway, Suite 100    Alpharetta, Georgia      30009-4765
                      P.O. Box 1624    Alpharetta, Georgia 30009-9934

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                                                                                             TDOT0001807
